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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ANDRAS FARKAS, CA Bar #254302
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    ASHLY STARLING THOMAS

7
8                            IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                            NO. 1:14-cr-00228 LJO-SKO

11                          Plaintiff,                    REQUEST TO MODIFY TERMS OF
                                                          PRE-TRIAL RELEASE
12
              v.
13
     ASHLY STARLING THOMAS,
14
                           Defendant.
15
16          Defendant Ashly Starling Thomas seeks permission to travel from her home in Lake
17   Charles, Louisiana to Atlanta, Georgia on February 18, 2015, returning from Atlanta to Lake
18   Charles on February 22, 2015. Ms. Thomas’ pre-trial release conditions restrict her travel to
19   Fresno, CA and to the state of Louisiana. The purpose of the trip is for Ms. Thomas and her
20   husband to find a permanent place to live in Atlanta. Ms. Thomas and her husband plan to move
21   to Atlanta at the end of March for purposes of employment. Pre-trial services officer Jacob Scott
22   is in agreement with this request and the government has no objection to Ms. Thomas’ request.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
     Case 1:14-cr-00228-LJO-SKO Document 130 Filed 01/30/15 Page 2 of 2


1    DATED: January 29, 2015                             /s/Andras Farkas
                                                         ANDRAS FARKAS
2                                                        Assistant Federal Defender
                                                         Attorney for Defendant
3                                                        ASHLY STARLING THOMAS
4
5
6
7                                             ORDER
8             IT IS HEREBY ORDERED that Defendant’s pre-trial conditions are amended to allow
9    her to travel from Lake Charles, Louisiana to Atlanta, Georgia on February 18, 2015. Ms.
10   Thomas shall return form Atlanta, Georgia to Lake Charles, Louisiana on February 22, 2015.
11
     IT IS SO ORDERED.
12
13   Dated:     January 30, 2015
                                                     UNITED STATES MAGISTRATE JUDGE
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